Case 23-40709   Doc 70-17 Filed 01/16/24 Entered 01/16/24 13:03:39   Desc Exhibit
                      Q - Akouete Exs. 2 and 3 Page 1 of 3




                           Exhibit Q
Case 23-40709                Doc 70-17 Filed 01/16/24 Entered 01/16/24 13:03:39                                                  Desc Exhibit
                                   Q - Akouete Exs. 2 and 3 Page 2 of 3



  On May 11, 2021, EMIGRANT BANK, with the mailing address of 13 Croton Ave Ossining, NY
  10562, reported to CUPD an abandoned savings account with a balance of $75,149.05 that belongs
  to Allen Thomas.
  On March 8, 2022, Lolonyon Akouete (Lolo), an investigator of unclaimed property, called Allen
  to see if he could help him recover the funds. Allen vaguely remembers the savings account, but
  he was willing to let Lolo help recover the funds. On October 11, 2022, Allen received a check
  from CUPD for $67,634.15, And Lolo received a check from CUPD for $7,514.90 for assisting
  Allen in recovering his abandoned funds. See a picture of the check below.




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                         Q - Akouete Exs. 2 and 3 Page 3 of 3




                                                    Or-




                                         BETTY T. YEE
                              California State Controller
                           UNCLAIMED PROPERTY DIVISION


  July 30, 2019


  AKOUETE LOLONYON Y
  800 RED MILLS RD
  WALLKILL NY 12589

  RE: Investigator Registration

  Dear Lolonyon,

  Thank you for registering to become an investigator with the California State Controller's Office,
  Unclaimed Property Division. We look forward to working with you to reunite lost and
  abandoned property with its rightful owner(s).

  As part of the registration process, we have formatted payment to you as follows. Please review
  and ensure that the name, address, and SSN/FEIN are correct. If they are not, please contact our
  office with the correct information.

  AKOUETE LOLONYON Y (XXX-XX-7650)
  800 RED MILLS RD
  WALLKILL NY 12589

  We encourage you to visit our website at http://www.sco.ca.gov/upd form investigator.html as it
  contains resources that will be helpful in the submission of claims. Below is a list of some of these
  resources.

     •   Downloadable Unclaimed Property Records - You can download all of the unclaimed
         property records in the Controller's public database

     •   Notices to Investigators — These notices alert the investigator community of important
         chariges in forms, publications, and the law
             i
     •   Investigator Handbook — Detailed guide on the claiming process and investigator
         requirements

     •   Investigator Forms — Forms required for submission of claims
                                         Unclaimed Property Division
                                               PO Box 942850
                                         Sacramento, CA 94250-5873
                                       (800) 992-4647 I (916) 323-2827
